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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

 GENENTECH, INC.,                            )
                                             )
             Plaintiff,                      )       C. A. No.: 18-924-CFC-SRF
                                             )
                      v.                     )
                                             )
 AMGEN INC.,                                 )
                                             )
             Defendant.                      )

                 JOINT SUBMISSION IN ACCORDANCE WITH
                        SPECIAL MASTER RULING

        Consistent with the Special Master’s ruling (D.I. 558, as adopted by the Court

  at D.I. 560) and the Court’s October 23, 2020 sealing order (D.I. 562), Plaintiff and

  Defendant jointly submit: (1) a list of those filings that were previously sealed in

  whole or in part that should now be entirely unsealed (Ex. A); (2) a list of those

  documents previously sealed that are now to be continued to be sealed in their

  entirety (Ex. B); (3) a list of those documents previously filed under seal or with

  redactions, in their new form, with the redactions narrowed as approved by the

  Special Master in the Sealed Appendix (Ex. C); and (4) the revised versions of those

  documents identified in Ex. C, attached hereto as Appendix A.
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